      Case 1:21-cr-00537-JMC Document 196 Filed 09/20/22 Page 1 of 1
USCA Case #22-3034     Document #1965013     Filed: 09/20/2022  Page 1 of 1


                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 22-3034                                                September Term, 2022
                                                                    1:21-cr-00537-JMC-1
                                                  Filed On: September 20, 2022 [1965013]
United States of America,

               Appellee

      v.

Ryan Samsel,

               Appellant

                                     MANDATE

      In accordance with the judgment of July 22, 2022, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




Link to the judgment filed July 22, 2022
